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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.    LA CV21-06505 JAK (SPx)                                            Date        November 17, 2021
 Title       George Jones v. Jeaman Kim, et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    T. Jackson                                               Not Reported
                  Deputy Clerk                                       Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                    Not Present                                               Not Present


 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                         OF PROSECUTION RE JEAMAN KIM, et al.

The Court, on its own motion, orders Plaintiff to show cause in writing no later than November 24, 2021
why this action should not be dismissed for lack of prosecution regarding overdue responses, as to
Jeaman Kim and Kyong Hwa Kim. Pursuant to Rule 55 of the Federal Rules of Civil Procedure,
Plaintiff shall file an application requesting the entry of default. Plaintiff is advised that the Court will
consider the filing of an application, which complies with the federal rules, on or before the date upon
which the response is due, as a satisfactory response to the Order to Show Cause. The Order to Show
Cause will stand submitted upon the filing of an appropriate response. No oral argument will be heard
unless otherwise ordered by the Court. Failure to respond will result in the dismissal of this matter.


IT IS SO ORDERED.




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                                                             Initials of Preparer      TJ




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